        Case 2:10-cr-00469-JAM Document 53 Filed 01/27/12 Page 1 of 2


 1   GILBERT A. ROQUE
     Attorney at Law
 2   California State Bar Number 074966
     913 Court Street
 3   Woodland, California 95695
     (530) 666-1935
 4
     Attorney for LUIS HERNANDEZ
 5
 6
 7
                                UNITED STATES DISTRICT COURT
 8
                               EASTERN DISTRICT OF CALIFORNIA
 9
10
11   UNITED STATES OF AMERICA,             )                 2:10-CR-469-JAM
                                           )
12                        Plaintiff,       )                 ORDER FOR
                                           )                 WAIVER OF DEFENDANT
13   vs.                                   )                 LUIS HERNANDEZ’S
                                           )                 PERSONAL APPEARANCE
14   LUIS HERNANDEZ,                       )
                                           )
15                        Defendant.       )
     _____________________________________ )
16
17          The undersigned defendant hereby waives the right to be present in person in open
18   court upon the hearing of any motion or other proceeding in this cause, including, but not
19   limited to, when the case is ordered set for trial, when a continuance is ordered, and when any
20   other action is taken by the Court before or after trial, except upon arraignment, plea,
21   impanelment of jury and imposition of sentence. Defendant hereby requests the Court to
22   proceed during every absence of his which the Court may permit pursuant to this waiver;
23   agrees that his interests will be deemed represented at all times by the presence of his
24   attorney, the same as if the defendant were personally present; and further agrees to be
25   present in court ready for trial any day and hour the Court may fix in his absence.
26          Defendant further acknowledges that he has been informed of his rights under Title 18
27   United States Code Section 3161-3174 (Speedy Trial Act), and authorizes his attorney to set
28                                                 1
         Case 2:10-cr-00469-JAM Document 53 Filed 01/27/12 Page 2 of 2


 1   times and delays under that Act without defendant being present. Defendant has been
 2   explained his rights to a speedy public jury trial under both the Sixth Amendment of the United
 3   States Constitution and the Speedy Trial Act, and agrees to waive time under both the Sixth
 4   Amendment of the United States Constitution and the Speedy Trial Act regarding his right to
 5   a speedy public jury trial.
 6
 7
 8   DATED: 1/25/12                            /s/ Luis Hernández
                                               LUIS HERNANDEZ, Defendant
 9
10   APPROVED:
11   DATED: 1/25/12                            /s/ Gilbert A. Roque
                                               GILBERT A. ROQUE, Attorney for
12                                             Defendant LUIS HERNANDEZ
13
14
            IT IS HEREBY ORDERED that Defendant Luis Hernández’s appearance is waived for
15
     the hearing of any motion or other proceeding in this cause, including, but not limited to, when
16
     the case is ordered set for trial, when a continuance is ordered, and when any other action is
17
     taken by the Court before or after trial, except upon arraignment, plea, impanelment of jury
18
     and imposition of sentence.
19
            IT IS SO ORDERED.
20
                                               /s/ John A. Mendez
21
     DATED: 01/26/2012                         ________________________________________
22                                             JOHN A. MENDEZ
                                               UNITED STATES DISTRICT COURT JUDGE
23
24
25
26
27
28                                                  2
